     Case 4:17-cr-00050-LGW-CLR Document 140 Filed 03/14/18 Page 1 of 3




                UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                        SAVANNAH DIVISION                                      FILED
                                                                        Scott L. Poff, Clerk
                                                                     United States District Court


UNITED STATES OF AMERICA,          )
                                                                 By jburrell at 4:36 pm, Mar 14, 2018


                                   )
v.                                 )          CR417-050
                                   )
JOSHUA SCOTT                       )


                REPORT AND RECOMMENDATION

      On October 31, 2017, the Court ordered a forensic psychological

examination of defendant Joshua Scott in accordance with 18 U.S.C.

§ 4241(a) and (b) to assess both his mental competency for trial and his

criminal responsibility for the charged offense. Doc. 124. He has since

had a comprehensive psychological evaluation at the Federal Medical

Center in Lexington, Kentucky. Doc. 136. His evaluators found that he

is competent to stand trial and he was sane at the time of the offense. Id.

at 6-7 (competency opinion); doc. 136-1 at 2 (sanity opinion).

      Both defendant and the government stipulate that the report

should be admitted as the sole evidence on the issue of competency.

Doc. 139. The Court concurs with the report’s unrebutted findings and

concludes that Johnson is not presently suffering from a mental disease
     Case 4:17-cr-00050-LGW-CLR Document 140 Filed 03/14/18 Page 2 of 3




or defect rendering him mentally incompetent to stand trial.                     It is

therefore RECOMMENDED that defendant be found competent to

stand trial pursuant to 18 U.S.C. § 4241.

      This Report and Recommendation (R&R) is submitted to the

district   judge   assigned   to   this       action,   pursuant     to   28   U.S.C.

§ 636(b)(1)(B) and this Court’s Local Rule 72.3.              Within 14 days of

service, any party may file written objections to this R&R with the Court

and serve a copy on all parties.          The document should be captioned

“Objections to Magistrate Judge’s Report and Recommendations.” Any

request for additional time to file objections should be filed with the

Clerk for consideration by the assigned district judge.

      After the objections period has ended, the Clerk shall submit this

R&R together with any objections to the assigned district judge. The

district   judge   will   review   the        magistrate   judge’s    findings    and

recommendations pursuant to 28 U.S.C. § 636(b)(1)(C). The parties are

advised that failure to timely file objections will result in the waiver of

rights on appeal. 11th Cir. R. 3-1; see Symonett v. V.A. Leasing Corp.,

648 F. App’x 787, 790 (11th Cir. 2016); Mitchell v. United States, 612 F.

App’x 542, 545 (11th Cir. 2015).



                                          2
    Case 4:17-cr-00050-LGW-CLR Document 140 Filed 03/14/18 Page 3 of 3




     SO REPORTED AND RECOMMENDED, this 14th day of

March, 2018.




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